      Case: 19-8006                 Document: 00713401539           Filed: 04/12/2019        Pages: 1



      UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT



Everett McKinley Dirksen United States Courthouse                               Office of the Clerk
        Room 2722 - 219 S. Dearborn Street                                     Phone: (312) 435-5850
             Chicago, Illinois 60604                                           www.ca7.uscourts.gov




                                                       ORDER
 April 12, 2019
                                                        Before
                                         DIANE P. WOOD, Chief Judge
                                         FRANK H. EASTERBROOK, Circuit Judge
                                         DANIEL A. MANION, Circuit Judge


                                         IN RE:
 No. 19-8006                               CHRISTINE DANCEL,
                                                Petitioner

 Originating Case Information:

 District Court No: 1:18-cv-02027
 Northern District of Illinois, Eastern Division
 District Judge Ronald A. Guzman

 The following are before the court:

 1.     PETITION FOR PERMISSION TO APPEAL UNDER FED. R. CIV. P. 23(f), filed on
        March 18, 2019, by Attorney Ryan D. Andrews.

 2.     DEFENDANT-RESPONDENT GROUPON INC.'S ANSWER IN OPPOSITION TO
        PLAINTIFF-PETITIONER CHRISTINE DANCEL'S PETITION FOR PERMISSION
        TO APPEAL UNDER FEDERAL RULE OF CIVIL PROCEDURE 23(f), filed on
        April 8, 2019, by Attorney Brian E. Cohen.

 IT IS ORDERED that the petition for permission to appeal is GRANTED. Petitioner shall
 pay the required docket fees to the clerk of the district court within 14 days from the entry of
 this order pursuant to Federal Rule of Appellate Procedure 5(d)(1). Once the district court
 notifies this court that the fees have been paid, the appeal will be entered on this court’s
 general docket.
 form name: c7_Order_3J(form ID: 177)
